Case: 4:06-cr-00103-HEA           Doc. #: 90       Filed: 10/24/06      Page: 1 of 1 PageID #: 240


                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION


UNITED STATES OF AMERICA, et al.,                   )
                                                    )
            Plaintiff,                              )
                                                    )
      vs.                                           )           Case No. 4:06CR00103 HEA
                                                    )
KEITH LYDELL BOBO,                                  )
                                                    )
            Defendant.                              )

                                               ORDER

         The purpose for which cash bail was posted in the above styled matter having now been

served, the Clerk is hereby ORDERED to draw a Registry Check in the sum of $1,000.00 to the

surety of record.




                                                    HENRY EDWARD AUTREY
                                                    UNITED STATES DISTRICT JUDGE

            Dated this 24th day of October, 2006.

  **************************************************************************
                    VERIFICATION OF DEFENDANT'S STATUS
                        (to be completed by the district Court)

I certify that the amount of the bond listed above is being held in the Registry of the United States
District Court-Eastern district of Missouri. I also certify that the status of the defendant is such that
the conditions of the bond have been met as of this 24th day of October, 2006.


                                                    /s/ Cindy Kornberger
                                                        Deputy Clerk
